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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                       CRIMINAL ACTION

VERSUS                                                         No. 15-61

LISA CRINEL, ET AL.                                            SECTION “E” (2)

                                 ORDER AND REASONS

          Before the Court is Defendant Michael Jones’ Motion to Exclude Inadmissible

Evidence. 1 The Government opposes this motion. 2 For the following reasons, Defendant

Michael Jones’ Motion to Exclude Inadmissible Evidence is DENIED.

                                    BACKGROUND

          On September 20, 2016, the Government provided Defendant Michael Jones with

an FBI 302 report prepared on May 12, 2005 by Special Agent David Sneed following an

interview with Defendant Michael Jones in connection with an investigation regarding a

health care conspiracy to defraud Medicaid (the “Interview”). 3 On September 29, 2016,

Defendant Michael Jones filed his Motion to Exclude Inadmissible Evidence. 4 Defendant

Michael Jones requests the exclusion of evidence from the Interview because it concerns

an investigation into a different healthcare provider. 5 The Government filed an opposition

to Defendant Jones’ motion on October 7, 2016 6 and a surreply on February 15, 2017. 7

Defendant Michael Jones filed a response to the Government’s surreply on February 21,

2017. 8




1 R. Docs. 731.
2 R. Docs. 751, 911.
3 See R. Doc. 731-1 at 2.
4 R. Doc. 731.
5 R. Doc. 731-1 at 1.
6 R. Doc. 751.
7 R. Doc. 911.
8 R. Doc. 918.

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         The investigation ultimately led to the June 5, 2008 indictment of seven

individuals, including the owner of A New Beginning, Akasia Lee. 9 Defendant Michael

Jones was not a named or indicted party in the case. 10 The Government argues that

“[d]uring the interview, where Jones was represented by counsel,” (1) “Jones admitted

that he saw patients at Lee’s clinic but billed those visits as ‘home visits’ because the

service ‘was performed outside of Jones’s office’” 11; (2) “Jones also stated that he signed

plans of care for patients that were ‘cookie cutter’ and that were already written when

Jones saw patients” 12; (3) “Jones denied signing blank prescriptions for Lee to fill out and

use with patients, but could not explain why the FBI found a blank prescription slip with

his signature” 13; and (4) Jones “admitted that that Lee paid him $2,500 in one month in

return for referring long term care patients to A New Beginning.” 14

         The Government does not intend to use information related to the Interview in its

case-in-chief and “only intends to use this information during cross examination,” should

Defendant Michael Jones choose to testify. 15 The Government argues the statements in

the FBI 302, “are relevant to rebut Michael Jones’s claim of lack of intent in the Abide

conspiracies and health care fraud scheme,” and to show his character regarding

truthfulness. 16




9 See R. Doc. 751 at 2. See also, United States v. Lee, 08-148, R. Doc. 199 (E.D. La. Mar. 19, 2009).
10 R. Doc. 731-1 at 2.
11 R. Doc. 751 at 2 (quoting R. Doc. 751-1, at 1).
12 Id. (quoting R. Doc. 751-1 at 2).
13 Id. (quoting R. Doc. 751-1 at 4).
14 Id. (quoting R. Doc. 751-1 at 4).
15 Id. at 1; R. Doc. 911 at 1.
16 R. Doc. 73-1 at 2; R. Doc. 911 at 1.

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                                             LAW AND ANALYSIS

    I.       Was the FBI 302 Report Timely Produced?

         Defendant Michael Jones argues that, even though the Government has indicated

it does not plan to use the Interview in its case-in-chief, the Interview still should have

been produced when initially requested. 17 Defendant Michael Jones maintains that if a

party fails to comply with Federal Rule of Criminal Procedure 16, the Court may “order

that party to permit the discovery or inspection . . .; grant a continuance; prohibit that

party from introducing the undisclosed evidence; or enter any other order that is just

under the circumstances.” 18 Defendant Michael Jones states that on April 1, 2015, he

requested production of all oral statements made by Dr. Jones to any person known to be

an agent of the Government, as provided in Federal Rule of Criminal Procedure

16(a)(1)(A).19 On April 13, 2015, the Government responded that it had no such

statements in its possession. 20 “On September 20, 2016, nearly a year and a half later after

the original request, the government provided defense counsel with an FBI 302 report

prepared by Special Agent David Sneed on May 12, 2005, following an interview with Dr.

Jones.” 21

         On October 28, 2016, the trial was continued until April 10, 2017 at the request of

all parties. 22 The Court finds that any prejudice resulting from a late disclosure has been

cured by the Court’s granting of the joint motion to continue. Rule 404(b) requires only




17 R. Doc. 731-1 at 3.
18 Id. at 4 (quoting FED. R. CRIM. P. 16(d)(2)).
19 Id. at 1 (citing R. Doc. 731-2 at 1).
20 Id. at 1-2 (citing R. Doc. 731-3 at 1).
21 Id. at 2 (citing R. Doc. 731-4).
22 R. Doc. 828.

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reasonable notice which was given in this case. As a result, evidence related to the

Interview will not be excluded on this basis. 23

    II.      Is Evidence Related to the Interview Admissible Under Rule 404(b) or Rule
             608(b)?

          In its February 7, 2017 Order, 24 the Court examined Rule 404(b) and 608(b) of the

Federal Rules of Evidence. In its November 1, 2016 Order, 25 the Court ruled with reasons

with respect to the use of prior inconsistent statements made in an FBI 302 report under

Rules 607 and 613(b). Those decisions are instructive for the issues now facing the Court.

          A. Is the Evidence Admissible Under Rule 404(b)?

          The Government seeks to use evidence regarding the Interview 26 if Defendant

Michael Jones testifies. 27 The Government argues that, “To the extent cross-examination

of Michael Jones on this conduct hinges on admissibility under Rule 404(b), the [] prior

conduct summarized in the FBI 302, not the 302 itself, are [sic] proper subjects for cross

examination. The contents of the 302 show Jones knew that his conduct with Abide,

which is factually similar to his conduct with A New Beginning, was unlawful.”28 The

Government argues it is entitled to use the evidence to show intent under Rule 404(b),

whether or not Defendant Michael Jones mentions Akasia Lee or A New Beginning in his

testimony on direct.

          Federal Rule of Evidence 404(b) governs the introduction of extrinsic evidence.

Under Federal Rule of Evidence 404(b), “[e]vidence of other crimes, wrongs, or acts is




23 See, e.g., United States v. Charles, 3 F.3d 436 (5th Cir. 1993) (“Other than requiring pretrial notice,

however, Rule 404(b) states no specific time limits in recognition of the fact that what constitutes
reasonable notice will depend largely on the circumstances of each case”).
24 R. Doc. 898.
25 R. Doc. 833.
26 The parties agree that evidence of the Interview is extrinsic.
27 The Government does not wish to introduce the FBI 302 itself but, instead, to question Defendant Michael

Jones about information in the report. R. Doc. 911 at 1.
28 R. Doc. 911 at 3.

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not admissible to prove the character of a person in order to show action in conformity

therewith. It may, however, be admissible for other purposes, such as proof of motive,

opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or

accident.” 29

         In order to be admissible under Rule 404(b), the evidence in question must satisfy

the two-pronged test articulated in United States v. Beechum. 30 The first prong of the test

is whether “the extrinsic offense evidence is relevant to an issue other than the defendant’s

character.” 31 As a threshold matter, the relevancy of extrinsic act evidence is conditioned

on whether the defendant, in fact, committed the extrinsic act. 32 Rule 104(b) of the

Federal Rules of Evidence provides: “When the relevance of evidence depends on whether

a fact exists, proof must be introduced sufficient to support a finding that the fact does

exist. The court may admit the proposed evidence on the condition that the proof be

introduced later.” 33 “Therefore, as a predicate to a determination that the extrinsic offense

is relevant, the Government must offer proof demonstrating that the defendant

committed the offense. If the proof is insufficient, the judge must exclude the evidence

because it is irrelevant” under Rule 104(b). 34

         When “determin[ing] whether there is sufficient evidence for the jury to find the

defendant in fact committed the extrinsic offense[,] . . . [t]he judge need not be convinced

beyond a reasonable doubt that the defendant committed the extrinsic offense,” and the

Government need not “come forward with clear and convincing proof.” 35 Rather, the




29 FED. R. EVID. 404(b).
30 United States v. Beechum, 582 F.2d 898, 911 (5th Cir. 1978) (en banc).
31 Id.
32 Id. at 912. See also U.S. v. Gutierrez-Mendez, 752 F.3d 418, 423 (5th Cir.) cert. denied, 135 S. Ct. 298

(2014).
33 FED. R. EVID. 104(b).
34 Beechum, 582 F.2d at 912–13; Gutierrez-Mendez, 752 F.3d at 423.
35 582 F.2d at 913.

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standard for the admissibility of extrinsic offense evidence is whether there is evidence

sufficient to permit a reasonable jury to find the preliminary facts by a preponderance of

the evidence. 36

        Once it is established that the defendant committed the other act, the Court must

look at other indicia of relevance. When determining whether extrinsic act evidence is

relevant to an issue other than the defendant’s character, as required to be admissible

under 404(b), “relevance is a function of [the extrinsic offense’s] similarity to the offense

charged.” 37 “[S]imilarity means more than that the extrinsic and charged offense have a

common characteristic”—the common characteristic must be “the significant one for the

purpose of the inquiry at hand.” 38

        The Third Circuit, in United States v. Brown, explained what the Government

must demonstrate in order to show that proposed 404(b) evidence is relevant to the

charged conduct: 39

         It is not enough for the Government to merely identify a valid non-
        propensity purpose under Rule 404(b)(2). Crucially, the Government must
        also show that the evidence is relevant to that purpose. To do so, the
        prosecution ‘must clearly articulate how that evidence fits into a chain of
        logical inferences, no link of which can be the inference that because the
        defendant committed the proffered prior offense, he therefore is more likely
        to have committed the charge offense. 40

        The second step of the Beechum test is that “the evidence must possess probative

value that is not substantially outweighed by its undue prejudice and must meet the other

requirements of rule 403.” 41 “The task for the court in its ascertainment of probative value




36 Id; U.S. v. Anderson, 933 F.2d 1261, 1269 (5th Cir. 1991) (citing Huddleston v. U.S., 485 U.S. 681, 688–

90 (1988)).
37 Id.
38 Id. (internal quotation marks and citation omitted).
39 765 F.3d 278 (3d Cir. 2014). The Third Circuit employs an almost identical test to the Fifth Circuit’s

requirements for admitting 404(b) evidence first articulated in Beechum. See id. at 291.
40 Id. at 292-93 (internal citations omitted).
41 Beechum, 582 F.2d at 911.

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and unfair prejudice under rule 403 calls for a commonsense assessment of all the

circumstances surrounding the extrinsic offense.” 42 “Some of the factors [a court] must

consider include: (1) the extent to which the defendant’s unlawful intent is established by

other evidence; (2) the overall similarity of the extrinsic and charged offenses; and (3)

how much time separates the extrinsic and charged offenses because temporal

remoteness depreciates the probity of the extrinsic offense.” 43

         The Government argues the first prong of the Beechum test is met because the

Interview is relevant to show that Michael Jones knew his conduct with Abide was

unlawful 44 and that he had the intent to commit healthcare fraud. 45 This satisfies only the

first prong of Beechum. Using a commonsense assessment of all the circumstances

surrounding the extrinsic offense, the Court finds that evidence regarding the Interview

fails to satisfy the second prong of the Beechum test. The Interview occurred twelve years

ago, which is temporally remote in time to the crimes charged now. Furthermore,, the

Fifth Circuit has explained that the probative value of an extrinsic act “must be

determined with regard to the extent to which the defendant’s unlawful intent is

established by other evidence, stipulation, or interference.” 46 The Government has not

attempted to establish, or even discussed, the other evidence available to establish

Defendant Michael Jones’ unlawful intent. As a result, the Government has failed to

establish the evidence is needed in light of the other evidence available to the

Government. The risk of undue prejudice resulting from the admission of this twelve year-

old evidence to prove the Defendant’s intent to commit the currently charged crimes is



42 Id. at 914.
43 United States v. Adair, 436 F.3d 520, 525 (5th Cir. 2006) (quoting Beechum, 582 F.2d at 915) (internal

quotations omitted).
44 R. Doc. 911 at 3.
45 R. Doc. 911 at 4.
46 United States v. Cockrell, 587 F.3d 674, 678-79 (5th Cir. 2009) (citing Beechum, 582 F.2d at 914).

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high. The Court finds the risk from admitting the evidence outweighs its probative value.

The evidence regarding the Interview is not admissible under Rule 404(b).

         B. Is the Evidence Admissible Under Rule 608(b)?

         The Government alternatively argues that evidence regarding the Interview is

admissible under Rule 608(b) because the statements and conduct described involve

fraud and implicate Defendant Michael Jones’ character for truthfulness. 47

         “Federal Rule of Evidence 608 governs proof of a witness’s truthful or untruthful

character if offered to attack or rehabilitate the witness’s credibility.” 48 Rule 608(a)

sanctions the use of reputation and opinion testimony to establish the truthful or

untruthful character of a witness. 49 Rule 608(b) permits cross-examination of a witness

about specific instances of his conduct that bear on his truthful or untruthful nature. 50

Rule 608(b) provides:

         Specific Instances of Conduct. Except for a criminal conviction under Rule
         609, extrinsic evidence is not admissible to prove specific instances of a
         witness’s conduct in order to attack or support the witness’s character or
         truthfulness. But the court may, on cross-examination, allow them to be
         inquired into if they are probative of the character for truthfulness or
         untruthfulness of:
              (1) The witness; or
              (2) Another witness whose character the witness being cross examined
                  has testified about. 51

This Rule “permit[s] inquiry on cross examination into specific instances of conduct

which may bear on a witness’ credibility in order to impeach the credibility of the

witness.” 52 Although the rule permits inquiry on cross examination into specific

instances, Rule 608 serves as an “absolute prohibition on extrinsic evidence . . . when the


47 Id.at 5.
48 United States v. Hudson, No. CRIM.A. 09-171, 2011 WL 5357902, at *2 (E.D. La. Nov. 7, 2011).
49 Fed. R. Evid. 608(a).
50 See Fed. R. Evid. 608(b).
51 Id.
52 United States v. Skelton, 514 F.3d 433, 443-44 (5th Cir. 2008) (citing United States v. Farias-Farias, 925

F.2d 805, 809 (5th Cir. 1991)).
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sole reason for proffering that evidence is to attack or support the witness’ character for

truthfulness.” 53

         To be admissible under this Rule, “the alleged bad act must have a basis in fact and

. . . the incidents inquired about must be relevant to the character traits at issue in the

trial.” 54 A prosecutor, however, “may not use impeachment as a guise for submitting to

the jury substantive evidence that is otherwise unavailable.” 55 Rather, as explained above,

“Rule 608 authorizes inquiry only into instances of misconduct that are ‘clearly probative

of truthfulness or untruthfulness,’ such as perjury, fraud, swindling, forgery, bribery and

embezzlement.” 56 Stated differently, “The application of Rule 608(b) to exclude extrinsic

evidence of a witness’s conduct is limited to instances where the evidence is introduced

to show a witness’s general character for truthfulness.” 57 As the Fifth Circuit has

explained, “Rule 608(b) [is] inapplicable in determining the admissibility of relevant

evidence introduced to contradict a witness’s testimony as to a material issue.” 58

         The Fifth Circuit has determined that a district court is granted broad discretion to

make determinations concerning admissibility of impeachment evidence under Rule

608(b).59 In addition, as the Fifth Circuit has also explained, “[E]ven if character evidence

is deemed admissible under Rule 608(b), its admissibility is subject to Rule 403.” 60

         The Government argues it may inquire in cross-examination about the past

conduct discussed in the Interview because it goes to the defendant’s character for

truthfulness under Rule 608(b). As explained above, “Rule 608 authorizes inquiry only


53 FED. R. EVID. 608 advisory committee’s note to the 2003 amendments.
54 Id. (citing United States v. Nixon, 777 F.2d 958, 970 (5th Cir. 1985).
55 United States v. Tomblin, 46 F.3d 1369, at 1388-89 (5th Cir. 1995) (internal citations omitted).
56 Id. at 1389.
57 Seklton, 514 F.3d at 441 (emphasis in original).
58 Id. at 441-42.
59 United States v. Heard, 709 F.3d 413, 433 (5th Cir. 2013) (citing Farias-Farias, 925 F.2d at 809).
60 Skelton, 514 F.3d at 441.; see also United States v. Williams, 822 F.2d 512, 517 (5th Cir. 1987) (“the

district court may under Rule 608(b) determine if evidence is probative of truthfulness, and under Rule
403 exclude even probative evidence if the prejudicial effect outweighs the probative value.”).
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into instances of misconduct that are ‘clearly probative of truthfulness or untruthfulness,’

such as perjury, fraud, swindling, forgery, bribery and embezzlement.” 61 Rule 608(b) does

not, as discussed below, apply “in determining the admissibility of relevant evidence

introduced to contradict a witness’s testimony as to a material issue.” 62 Although Rule

608(b) permits inquiry on cross examination into specific instances of conduct which

bear on the testifying defendant’s credibility, Rule 608 serves as an “absolute prohibition

on extrinsic evidence . . . when the sole reason for proffering that evidence is to attack or

support the witness’ character for truthfulness.” 63 Stated differently, the Fifth Circuit has

held that Rule 608(b):

        [P]rohibits proof by extrinsic evidence even where the prosecutor inquires
        into prior acts on cross-examination. The cross-examining attorney must
        take the witness’ answer. This result is consistent with the long-standing
        doctrine that a witness may not be impeached with extrinsic evidence as to
        a collateral manner. Prior wrongful acts not resulting in a criminal
        conviction ordinarily are collateral matters. 64

        The Court finds that evidence regarding the Interview does bear on Defendant

Michael Jones’s character for truthfulness because it relates to misconduct involving

fraud. 65 The Court finds that the probative value of evidence regarding the Interview to

prove the Defendant’s character for truthfulness is not substantially outweighed by its

potential prejudicial effect, therefore satisfying Rule 403 of the Federal Rules of

Evidence. 66 As a result, if Defendant Michael Jones chooses to testify at trial, 67 the

Government, during cross-examination, may question Defendant Michael Jones



61 Tomblin, 46 F.3d at 1389.
62 Skelton, 514 F.3d at 441-42.
63 FED. R. EVID. 608 advisory committee’s note to the 2003 amendments.
64 United States v. Davis, 2003 WL 1904038, at *2 (E.D. La. Apr. 17, 2003) (quoting United States v.

Herzberg, 588 F.2d 1219, 1223 (5th Cir. 1977)).
65 See United States v. Sanders, 343 F.3d 511, 519 (5th Cir. 2003) (“Fraud has been held to be probative of

a witness’s character for truthfulness or untruthfulness.”).
66 The Defendants may request a limiting instruction.
67 See id. at 318 (“When a defendant testifies, he puts his character for truthfulness in issue”) (citing United

States v. Waldrip, 981 F.2d 799, 803 (5th Cir. 1993)).
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regarding the Interview but only for the purpose of challenging his character for

truthfulness pursuant to Rule 608(b). The Government is required to accept his answer

and may not impeach him with extrinsic evidence as to this collateral manner. 68

                                            CONCLUSION

        Accordingly;

        IT IS ORDERED that Defendant Michael Jones’ Motion to Exclude Inadmissible

Evidence 69 is DENIED.

        New Orleans, Louisiana, this 29th day of March, 2017.


                                                  ___  _____________ __________
                                                          SUSIE MORGAN
                                                  UNITED STATES DISTRICT JUDGE




68 If Defendant Michael Jones testifies on direct that he never worked with Akasia Lee or A New Beginning,

the Government may impeach him by contradiction, provided a proper foundation is established. See FED.
R. EVID. 613(b); United States v. Foster, 376 F.3d 577, 592-93 (6th Cir. 2004). The Government also believes
it should be allowed to impeach Defendant Michael Jones by contradiction if he testifies that he was careful
or diligent in keeping his records or making sure he always wrote his own notes and carefully reviewed
plans of care or if he testifies he never entered a kickback arrangement before or that he did not have intent
to defraud. R. Doc. 751 at 7-8. The Court defers ruling on this issue. See United States v. Lopez, 979 F.2d
1204 (5th Cir. 1992); United States v. Gilmore, 553 F.3d 266, 270 (3d Cir. 2009).
69 R. Doc. 731.

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